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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known):                                        Chapter you are filing under:
                                                                          Chapter 7
                                                                          Chapter 11
                                                                          Chapter 12
                                                                                                                                         Check if this is an
                                                                          Chapter 13
                                                                                                                                         amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                         James                                                          Yamileth
     government-issued picture
                                         First Name                                                     First Name
     identification (for example,
     your driver's license or            D                                                              D.
     passport).                          Middle Name                                                    Middle Name

                                         Grisham                                                        Grisham
     Bring your picture                  Last Name                                                      Last Name
     identification to your meeting
     with the trustee.                   Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8             First Name                                                     First Name
     years
                                         Middle Name                                                    Middle Name
     Include your married or
     maiden names.
                                         Last Name                                                      Last Name


3.   Only the last 4 digits of
     your Social Security                xxx – xx –                   4        1       7      2         xxx – xx –                   2         7        9      9
     number or federal                   OR                                                             OR
     Individual Taxpayer
     Identification number               9xx – xx –                                                     9xx – xx –
     (ITIN)

4.   Any business names                         I have not used any business names or EINs.                    I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in              Business name                                                  Business name
     the last 8 years
                                         Business name                                                  Business name
     Include trade names and
     doing business as names
                                         Business name                                                  Business name




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                            page 1
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Debtor 1     James                  D                          Grisham                      Case number (if known)
             First Name             Middle Name                Last Name

                                         About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):

                                                      –                                                       –
                                         EIN                                                      EIN
                                                      –                                                       –
                                         EIN                                                      EIN

5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                         5613 Bay Meadows Drive                                   5613 Bay Meadows Drive
                                         Number       Street                                      Number      Street




                                         Frisco                      TX        75034              Frisco                     TX        75034
                                         City                        State     ZIP Code           City                       State     ZIP Code

                                         Denton                                                   Denton
                                         County                                                   County

                                         If your mailing address is different from                If Debtor 2's mailing address is different
                                         the one above, fill it in here. Note that the            from yours, fill it in here. Note that the court
                                         court will send any notices to you at this               will send any notices to you at this mailing
                                         mailing address.                                         address.

                                         5613 Bay Meadows Drive
                                         Number       Street                                      Number      Street


                                         P.O. Box                                                 P.O. Box

                                         Frisco                      TX        75034
                                         City                        State     ZIP Code           City                       State     ZIP Code


6.   Why you are choosing                Check one:                                               Check one:
     this district to file for
     bankruptcy                                  Over the last 180 days before filing this               Over the last 180 days before filing this
                                                 petition, I have lived in this district longer          petition, I have lived in this district longer
                                                 than in any other district.                             than in any other district.

                                                 I have another reason. Explain.                         I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                 (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the                 Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                      Chapter 7

                                                Chapter 11

                                                Chapter 12

                                                Chapter 13




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1     James                  D                     Grisham                       Case number (if known)
             First Name             Middle Name           Last Name

8.   How you will pay the fee                I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                             court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                             pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                             behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                             Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                             than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                             fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                             Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                      No
     bankruptcy within the
     last 8 years?                           Yes.

                                        District                                               When                    Case number
                                                                                                      MM / DD / YYYY
                                        District                                               When                    Case number
                                                                                                      MM / DD / YYYY

                                        District                                               When                    Case number
                                                                                                      MM / DD / YYYY

10. Are any bankruptcy                       No
    cases pending or being
    filed by a spouse who is                 Yes.
    not filing this case with
                                        Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an                   District                                               When                    Case number,
    affiliate?                                                                                        MM / DD / YYYY   if known


                                        Debtor                                                             Relationship to you

                                        District                                               When                    Case number,
                                                                                                      MM / DD / YYYY   if known

11. Do you rent your                         No.    Go to line 12.
    residence?                               Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                  residence?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                         and file it with this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     James                   D                      Grisham                       Case number (if known)
             First Name              Middle Name            Last Name


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                 No. Go to Part 4.
    of any full- or part-time                 Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                    Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                   Number      Street
    a corporation, partnership, or
    LLC.

    If you have more than one                       City                                                    State            ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                    Check the appropriate box to describe your business:
    to this petition.
                                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                           None of the above

13. Are you filing under                 If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                    can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                  most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business             or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                              No.   I am not filing under Chapter 11.

                                              No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                    the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                     Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                   Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                    No
    property that poses or is                 Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                         If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                  Where is the property?
    a building that needs urgent                                               Number   Street
    repairs?



                                                                               City                                     State           ZIP Code




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                            page 4
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Debtor 1     James                  D                      Grisham                       Case number (if known)
             First Name             Middle Name            Last Name


 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court             About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
    whether you have
                               You must check one:                                            You must check one:
    received briefing
    about credit                    I received a briefing from an approved credit                I received a briefing from an approved credit
    counseling.                     counseling agency within the 180 days before                 counseling agency within the 180 days before
                                    I filed this bankruptcy petition, and I received             I filed this bankruptcy petition, and I received
    The law requires that
                                    a certificate of completion.                                 a certificate of completion.
    you receive a briefing
    about credit counseling         Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    before you file for             plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    bankruptcy. You must
                                    I received a briefing from an approved credit                I received a briefing from an approved credit
    truthfully check one of
                                    counseling agency within the 180 days before                 counseling agency within the 180 days before
    the following choices.
                                    I filed this bankruptcy petition, but I do not               I filed this bankruptcy petition, but I do not
    If you cannot do so,
                                    have a certificate of completion.                            have a certificate of completion.
    you are not eligible to
    file.                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy
                                    you MUST file a copy of the certificate and payment          petition, you MUST file a copy of the certificate
    If you file anyway, the         plan, if any.                                                and payment plan, if any.
    court can dismiss your
                                    I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    case, you will lose
                                    services from an approved agency, but was                    services from an approved agency, but was
    whatever filing fee you
                                    unable to obtain those services during the 7                 unable to obtain those services during the 7
    paid, and your
                                    days after I made my request, and exigent                    days after I made my request, and exigent
    creditors can begin
                                    circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    collection activities
                                    waiver of the requirement.                                   waiver of the requirement.
    again.
                                    To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                    requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                    what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                    you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                    bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                    required you to file this case.                              required you to file this case.

                                    Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                    dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                    briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                    If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                    still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                    You must file a certificate from the approved                You must file a certificate from the approved
                                    agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                    developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                    may be dismissed.                                            may be dismissed.

                                    Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                    only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                    days.                                                        days.

                                    I am not required to receive a briefing about                I am not required to receive a briefing about
                                    credit counseling because of:                                credit counseling because of:

                                        Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                       deficiency that makes me                                     deficiency that makes me
                                                       incapable of realizing or making                             incapable of realizing or making
                                                       rational decisions about finances.                           rational decisions about finances.

                                        Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                       to be unable to participate in a                             to be unable to participate in a
                                                       briefing in person, by phone, or                             briefing in person, by phone, or
                                                       through the internet, even after I                           through the internet, even after I
                                                       reasonably tried to do so.                                   reasonably tried to do so.
                                        Active duty. I am currently on active military               Active duty. I am currently on active military
                                                     duty in a military combat zone.                              duty in a military combat zone.
                                    If you believe you are not required to receive a             If you believe you are not required to receive a
                                    briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                    motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.



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Debtor 1     James                  D                       Grisham                      Case number (if known)
             First Name             Middle Name             Last Name


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you           16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                       as "incurred by an individual primarily for a personal, family, or household purpose."
                                                      No. Go to line 16b.
                                                      Yes. Go to line 17.

                                        16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                     No. Go to line 16c.
                                                     Yes. Go to line 17.

                                        16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                                 No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                               No
    are paid that funds will be
                                                          Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                      1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                      50-99                            5,001-10,000                          50,001-100,000
    owe?                                       100-199                          10,001-25,000                         More than 100,000
                                               200-999

19. How much do you                            $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                               $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                            $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to               $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                        $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                               $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                                 I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                        and correct.

                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                        or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                        proceed under Chapter 7.

                                        If no attorney represents me and I did not pay or agree to pay someone who is an attorney to help me fill
                                        out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                        connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                        or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                        X /s/ James D Grisham                                       X /s/ Yamileth D. Grisham
                                           Signature of Debtor 1                                       Signature of Debtor 2

                                           Executed on 01/04/2016                                      Executed on 01/04/2016
                                                       MM / DD / YYYY                                              MM / DD / YYYY




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     James                  D                      Grisham                      Case number (if known)
             First Name             Middle Name            Last Name

For your attorney, if you are           I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                      eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                        relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by           the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need            certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                      is incorrect.



                                        X /s/ KENNETH S.HARTER                                                Date 01/04/2016
                                           Signature of Attorney for Debtor                                        MM / DD / YYYY


                                           KENNETH S.HARTER
                                           Printed name
                                           Law Offices of Kenneth S. Harter
                                           Firm Name
                                           1620 E. Beltline Rd.
                                           Number          Street




                                           Carrollton                                                 TX              75006
                                           City                                                       State           ZIP Code


                                           Contact phone (972) 242-8887                     Email address kharter@ctc.net


                                           09155300
                                           Bar number                                                 State




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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 Fill in this information to identify your case:
     Debtor 1              James                      D                          Grisham
                           First Name                 Middle Name                Last Name
     Debtor 2              Yamileth                   D.                         Grisham
     (Spouse, if filing)   First Name                 Middle Name                   Last Name
     United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
     Case number                                                                                                                       Check if this is an
     (if known)                                                                                                                        amended filing

Official Form 103A
Application for Individuals to Pay the Filing Fee in Installments                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information.


 Part 1:          Specify Your Proposed Payment Timetable

1.    Which chapter of the Bankruptcy Code are                           Chapter 7
      you choosing to file under?                                        Chapter 11
                                                                         Chapter 12
                                                                         Chapter 13
2.    You may apply to pay the filing fee in up to
      four installments. Fill in the amounts you                     You propose to pay...
      propose to pay and the dates you plan to                                                    With the filing of the petition
      pay them. Be sure all dates are business                            $100.00                 On or before this date.........
      days. Then add the payments you propose                                                                                        MM / DD / YYYY
      to pay.
                                                                           $75.00            On or before this date.................   02/05/2016
      You must propose to pay the entire fee no                                                                                      MM / DD / YYYY
      later than 120 days after you file this                              $75.00            On or before this date.................   03/04/2016
      bankruptcy case. If the court approves your                                                                                    MM / DD / YYYY
      application, the court will set your final
                                                                 +         $85.00            On or before this date.................     04/01/2016
      payment timetable.
                                                                                                                                       MM / DD / YYYY
                                                     Total                $335.00            <-- Your total must equal the entire fee for the
                                                                                             chapter you checked in line 1.

 Part 2:          Sign Below

By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments,
and that you understand that:

        You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney,
        bankruptcy petition preparer, or anyone else for services in connection with your bankruptcy case.

        You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your
        deadline. Your debts will not be discharged until your entire fee is paid.

        If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other
        bankruptcy proceedings may be affected.


 X /s/ James D Grisham                                X /s/ Yamileth D. Grisham                          X /s/ KENNETH S.HARTER
 Signature of Debtor 1                                Signature of Debtor 2                              KENNETH S.HARTER
                                                                                                         Your attorney's name and signature, if
                                                                                                         you used one

 Date: 01/04/2016                                     Date: 01/04/2016                                   Date: 01/04/2016
       MM / DD / YYYY                                       MM / DD / YYYY                                     MM / DD / YYYY
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 Fill in this information to identify the case:
   Debtor 1               James                      D                         Grisham
                          First Name                 Middle Name                Last Name
   Debtor 2               Yamileth                   D.                        Grisham
   (Spouse, if filing)    First Name                 Middle Name                Last Name
   United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
   Case number
   (if known)
   Chapter filing under:                                                                Chapter 7
                                                                                        Chapter 11
                                                                                        Chapter 12
                                                                                        Chapter 13

Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the court orders that:

    The debtor(s) may pay the filing fee in installments on the terms proposed in the application.
    The debtor(s) must pay the filing fee according to the following terms:


                    You must pay...             On or before this date...



                                                Month / day / year


                                                Month / day / year


                                                Month / day / year
                +
                                                Month / day / year
   Total


Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional property to an
attorney or to anyone else for services in connection with this case.



                                                          By the court:
                    Month / day / year                                      United States Bankruptcy Judge
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 Fill in this information to identify your case and this filing:
 Debtor 1               James                     D                       Grisham
                        First Name                Middle Name             Last Name

 Debtor 2            Yamileth                     D.                      Grisham
 (Spouse, if filing) First Name                   Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                      What is the property?                              Do not deduct secured claims or exemptions. Put the
House and Lot (Homestead)                                 Check all that apply.                              amount of any secured claims on Schedule D:
5613 Bay Meadow Dr. Frisco, Tx.                                Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?

County                                                         Manufactured or mobile home                                        $0.00                     $0.00
                                                               Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
                                                               Other                                         entireties, or a life estate), if known.

                                                          Who has an interest in the property?
                                                                                                             Fee
                                                          Check one.
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                          Other information you wish to add about this item, such as local
                                                          property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................                  $0.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                    Schedule A/B: Property                                                               page 1
                     Case 16-40031        Doc 1    Filed 01/04/16     Entered 01/04/16 16:27:08 Desc Main Document                    Page 11 of 94
Debtor 1         James                    D                     Grisham                        Case number (if known)
                 First Name               Middle Name           Last Name

3.1.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Chevrolet                 Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Tahoe
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2007
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $13,750.00                             $13,750.00
Other information:
2007 chevy tahoe                                            Check if this is community property
                                                            (see instructions)
3.2.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Chevy                     Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Silverado
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2008                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage:                                        At least one of the debtors and another            $12,500.00                             $12,500.00
Other information:
truck                                                       Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................              $26,250.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Furniture and Furnishings                                                                                                   $0.00
                                 TV, DVD, Computers, Chairs and Tables, etc
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
                         Case 16-40031               Doc 1         Filed 01/04/16             Entered 01/04/16 16:27:08 Desc Main Document                                           Page 12 of 94
Debtor 1          James                             D                                 Grisham                          Case number (if known)
                  First Name                        Middle Name                       Last Name

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                clothing and accessories                                                                                                                                                       $6,000.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                weddings rings, watches                                                                                                                                                        $2,500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $8,500.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Chase Checking                                                                                                                                   $100.00
             17.2.        Checking account:                      Bank of America                                                                                                                                  $969.00
             17.3.        Checking account:                      Bank of America                                                                                                                                ($358.00)
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

             vonage 14 shares amaerican airlines                                                                                                                                                                  $100.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
                       Case 16-40031           Doc 1       Filed 01/04/16   Entered 01/04/16 16:27:08 Desc Main Document        Page 13 of 94
Debtor 1         James                         D                       Grisham                       Case number (if known)
                 First Name                    Middle Name             Last Name

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific                 Issuer name:
           information about
           them...............................................




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:          Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                        Schedule A/B: Property                                                page 4
                      Case 16-40031             Doc 1    Filed 01/04/16   Entered 01/04/16 16:27:08 Desc Main Document         Page 14 of 94
Debtor 1        James                        D                       Grisham                       Case number (if known)
                First Name                   Middle Name             Last Name

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                   Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                    State:                    $0.00
           and the tax years.....................................
                                                                                                                            Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                     Alimony:                                $0.00
                                                                                                              Maintenance:                            $0.00
                                                                                                              Support:                                $0.00

                                                                                                              Divorce settlement:                     $0.00
                                                                                                              Property settlement:                    $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance                Company name:                                Beneficiary:                      Surrender or refund value:
           company of each policy
           and list its value................




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 5
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Debtor 1         James                        D                            Grisham                        Case number (if known)
                 First Name                   Middle Name                  Last Name

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................       $811.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:




43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          James                         D                          Grisham                        Case number (if known)
                  First Name                    Middle Name                Last Name

44. Any business-related property you did not already list

            No
            Yes. Give specific
            information..................




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           James                          D                             Grisham                         Case number (if known)
                   First Name                     Middle Name                   Last Name


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific
             information.......................




54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                           $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $26,250.00

57. Part 3: Total personal and household items, line 15                                                               $8,500.00

58. Part 4: Total financial assets, line 36                                                                              $811.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $35,561.00              property total                 +          $35,561.00



63. Total of all property on Schedule A/B.                                                                                                                                                    $35,561.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
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 Fill in this information to identify your case:
 Debtor 1             James                  D                       Grisham
                      First Name             Middle Name             Last Name
 Debtor 2            Yamileth                D.                      Grisham
 (Spouse, if filing) First Name              Middle Name             Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                        Check if this is an
 Case number                                                                                                            amended filing
 (if known)



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?                Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on              Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                      the portion you       exemption you claim
                                                           own
                                                           Copy the value from Check only one box for
                                                           Schedule A/B        each exemption


Brief description                                                  $0.00                     $0.00           Const. art. 16 §§ 50, 51, Texas
House and Lot (Homestead)                                                            100% of fair market     Prop. Code §§ 41.001-.002
5613 Bay Meadow Dr. Frisco, Tx.                                                      value, up to any
Line from Schedule A/B: 1.1                                                          applicable statutory
                                                                                     limit

Brief description                                             $13,750.00                 $13,750.00          Tex. Prop. Code §§ 42.001(a),
2007 chevy tahoe                                                                     100% of fair market     42.002(a)(9)
                                                                                     value, up to any
Line from Schedule A/B:       3.1
                                                                                     applicable statutory
                                                                                     limit




3. Are you claiming a homestead exemption of more than $155,675?
Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                   page 1
      (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                              page 1
                    Case 16-40031   Doc 1    Filed 01/04/16   Entered 01/04/16 16:27:08   Desc Main Document      Page 19 of 94

Debtor 1     James                  D                    Grisham                       Case number (if known)
             First Name             Middle Name          Last Name


 Part 2:       Additional Page
Brief description of the property and line on         Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you     exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description                                        $12,500.00               $12,500.00          Tex. Prop. Code §§ 42.001(a),
truck                                                                          100% of fair market    42.002(a)(9)
                                                                               value, up to any
Line from Schedule A/B:     3.2
                                                                               applicable statutory
                                                                               limit

Brief description                                             $0.00                   $0.00           Tex. Prop. Code §§ 42.001(a),
Furniture and Furnishings                                                      100% of fair market    42.002(a)(1)
TV, DVD, Computers, Chairs and Tables,                                         value, up to any
etc                                                                            applicable statutory
Line from Schedule A/B: 6                                                      limit

Brief description                                         $6,000.00                $6,000.00          Tex. Prop. Code §§ 42.001(a),
clothing and accessories                                                       100% of fair market    42.002(a)(5)
                                                                               value, up to any
Line from Schedule A/B:      11
                                                                               applicable statutory
                                                                               limit

Brief description                                         $2,500.00                $2,500.00          Tex. Prop. Code §§ 42.001(a),
weddings rings, watches                                                        100% of fair market    42.002(a)(6)
                                                                               value, up to any
Line from Schedule A/B:      12
                                                                               applicable statutory
                                                                               limit




Official Form 106C                                Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1              James                    D                      Grisham
                        First Name               Middle Name            Last Name

  Debtor 2            Yamileth                   D.                     Grisham
  (Spouse, if filing) First Name                 Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one                  Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As               Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the              Do not deduct the      that supports this     portion
        creditor's name.                                                                      value of collateral    claim                  If any

  2.1                                                 Describe the property that
                                                      secures the claim:                            $71,948.89                     $0.00          $71,948.89
Ditech                                                House and Lot (Homestead)
Creditor's name
C/O Johnson & Silver
Number       Street
12720 Hillcrest
Dallas                   TX      75230                As of the date you file, the claim is: Check all that apply.
City                     State   ZIP Code                 Contingent
                                                          Unliquidated
Who owes the debt? Check one.
                                                          Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Purchase Money
   to a community debt

Date debt was incurred                                Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                   $71,948.89

Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                page 1
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Debtor 1      James                   D                    Grisham                       Case number (if known)
              First Name              Middle Name          Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                           $193,000.00                    $0.00        $193,000.00
Wells Fargo Home Mortgage
Creditor's name
                                               House and Lot (Homestead)
P. O. box 14547
Number     Street


Des Moines              IA      50306-3547     As of the date you file, the claim is: Check all that apply.
City                    State   ZIP Code           Contingent
                                                   Unliquidated
Who owes the debt? Check one.
                                                   Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Purchase Money
   to a community debt

Date debt was incurred                         Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $193,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $264,948.89

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2
                  Case 16-40031      Doc 1        Filed 01/04/16   Entered 01/04/16 16:27:08   Desc Main Document        Page 22 of 94

 Fill in this information to identify your case:
 Debtor 1           James                    D                      Grisham
                    First Name               Middle Name            Last Name

 Debtor 2            Yamileth                D.                     Grisham
 (Spouse, if filing) First Name              Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




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Debtor 1       James                    D                     Grisham                           Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $2,623.66
AMERICAN EXPRESS                                            Last 4 digits of account number         3     0    0     6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. BOX 5027
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
FT. LAUDERDALE                  FL       33310                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                              $95.06
American Medical Collection Agency                          Last 4 digits of account number         4     4    6     9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4 Westchester Plaza
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Bldg 4                                                          Contingent
                                                                Unliquidated
Elmsford                        NY       10523                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -quest diagnostics
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

   4.3                                                                                                                                      $67,259.73
ARS National Services                                       Last 4 digits of account number       4    4    7    9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
201 W. Grand Av.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Escondido                       CA       92046                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -citibank
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                          $393.51
Bank of America                                             Last 4 digits of account number       3    5    7    7
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. .O. Box 15284
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Wilmington, DE. 19850-                                          Contingent
                                                                Unliquidated
                                                                Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                          $969.75
Bank of America                                             Last 4 digits of account number       0    9    5    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. .O. Box 19850
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Wilmington                      DE       19850                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

   4.6                                                                                                                                      $68,205.38
Capital Management Services, LP                             Last 4 digits of account number       2    9    7    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?
698 1/2 south Ogden St.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Buffalo                         NY       14206-2317             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -citibank
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                        $1,844.55
Cash Net USA                                                Last 4 digits of account number       3    4    1    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?
200 West Jackson St. Suite 1400
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Chicago                         IL       60606-6941             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                        $1,853.10
Cash Net USA                                                Last 4 digits of account number       9    3    5    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
200 West Jackson St. Suite 1400
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Chicago                         IL       60606-6941             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

   4.9                                                                                                                                      $53,635.54
Cavalry Portfolio Services                                  Last 4 digits of account number       2    9    7    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?
500 Summit Lake Dr.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Valhalla                        NY       10595                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -citibank
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                        $1,398.34
Citibank                                                    Last 4 digits of account number       5    4    3    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
C/O Client Services, Inc.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
3451 Harry S. Truman, Blvd                                      Contingent
                                                                Unliquidated
St. Charles                     MO       63301-4047             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                          $173.25
Cook Childrens' Med. Cntr                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 961257
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Fort Worth                      TX       76161-0257             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.12                                                                                                                                          $304.37
Credence                                                    Last 4 digits of account number       4    9    5    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?
17000 Dallas Pkwy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Suite 204                                                       Contingent
                                                                Unliquidated
Dallas                          TX       75248                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -att
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                        $8,369.74
Credit Control                                              Last 4 digits of account number       3    7    4    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
245 East Roselawn #25-26
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Maplewood                       MN       55117                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Bank of America
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                          $334.67
Financial Corp. of America                                  Last 4 digits of account number       6    3    2    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 203500
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Austin                          TX       78720-3500             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Childrens Health
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.15                                                                                                                                        $8,369.74
First Source Advantage                                      Last 4 digits of account number       7    9    7    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P O Box 1299717
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Buffalo                         NY       14240                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Bank of America
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                          $926.13
Hunter Warfield Collectionis & Asset Inv                    Last 4 digits of account number       2    2    1    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4620 Woodland Corporate Blvd
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Tampa                           FL       33614                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Orion at Oak HIll
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                          $365.00
Law Offices of Kenneth S. Harter                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?        12/28/2015
1620 E. Beltline Rd.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Carrollton                      TX       75006                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Attorney Fees
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.18                                                                                                                                            $4.51
LCA Collections                                             Last 4 digits of account number       4    8    9    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Box 2240
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Burlington                      NC       27216                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Labcorp
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                        $8,369.74
Management Services, Inc.                                   Last 4 digits of account number       3    3    5    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 1099
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Langhorne                       PA       19047                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Bank ofAmerica
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                          $636.97
NCO Financial Systems, Inc.                                 Last 4 digits of account number       2    5    8    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 15137
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Wilmington                      DE       19850-5137             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Relian Energy
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.21                                                                                                                                        $1,200.00
NCP Finance Limited Partnership                             Last 4 digits of account number      2 0 2           7
Nonpriority Creditor's Name
                                                            When was the debt incurred?        08/11/2015
205 Sugar Camp Cir
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Dpt CNG                                                         Contingent
                                                                Unliquidated
Dayton                          OH       45409                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                        $1,250.00
NCP Finance Limited Partnership                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?        08/28/2015
205 Sugar Camp Cir
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Dpt CNG                                                         Contingent
                                                                Unliquidated
Dayton                          OH       45409                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                        $8,369.74
Northstar Location Services                                 Last 4 digits of account number       3    7    4    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Attn: Financial Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
4285 Genesee St.                                                Contingent
                                                                Unliquidated
Buffalo                         NY       14225                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Bank of America
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.24                                                                                                                                           $25.00
Penn Credit Corp                                            Last 4 digits of account number       3    2    1    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
916 So. 14th St.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Box 988                                                         Contingent
                                                                Unliquidated
Harrisburg                      PA       17108-0988             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Quest Diagnostices
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                        $2,000.00
Portfolio Recovery Associates                               Last 4 digits of account number       5    4    3    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 12914
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Norfolk                         VA       23541                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Home Depot and Citi CArds
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                          $912.84
Quantum Builders                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
6125 W. Sam Houston Pkwy N
Number        Street                                        As of the date you file, the claim is: Check all that apply.
#203                                                            Contingent
                                                                Unliquidated
Houston                         TX       77041                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 10
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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.27                                                                                                                                          $753.00
Quest Diagnostics, Inc.                                     Last 4 digits of account number       5    1    6    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 41652
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Philadelphia                    PA       19101-1652             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                          $543.56
Quest Diagnostics, Inc.                                     Last 4 digits of account number       6    9    3    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 41652
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Philadelphia                    PA       19101-1652             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                           $25.00
Quest Diagnostics, Inc.                                     Last 4 digits of account number       5    5    1    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 41652
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Philadelphia                    PA       19101-1652             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 11
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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.30                                                                                                                                        $1,250.00
Southwestern & Pacific Specialty Financi                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?        08/28/2015
d/b/a Check N Go
Number        Street                                        As of the date you file, the claim is: Check all that apply.
4540 Cooper Rd. Suite 200                                       Contingent
                                                                Unliquidated
Cincinatti                      OH       45242                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                        $1,250.00
Southwestern & Pacific Specialty Financi                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?        08/11/2015
d/b/a Check N Go
Number        Street                                        As of the date you file, the claim is: Check all that apply.
4540 Cooper Rd. Suite 200                                       Contingent
                                                                Unliquidated
Cincinatti                      OH       45242                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                        $8,369.74
Sunrise Credit Services                                     Last 4 digits of account number       2    0    8    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Box 9100
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Farmingdale                     NY       11735-9100             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -Bank of America
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 12
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Debtor 1       James                    D                     Grisham                         Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.33                                                                                                                                           $35.00
Texas Vision and Laser Center                               Last 4 digits of account number       7    9    5    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2709 Virginia Pkwy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Suite 200                                                       Contingent
                                                                Unliquidated
McKinney                        TX       75071-5400             Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                          $636.97
Transworld                                                  Last 4 digits of account number       2    5    8    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
9525 Sweet Valley Drive
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Valley View                     OH       44125                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Collecting for -reliant
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                                          $406.31
Wells Fargo                                                 Last 4 digits of account number       9    3    3    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 30086
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Los Angeles                     CA       90030                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 13
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Debtor 1       James                    D                       Grisham                     Case number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $253,159.90


                    6j.     Total.   Add lines 6f through 6i.                                            6j.            $253,159.90




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                       page 14
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 Fill in this information to identify your case:
 Debtor 1            James                  D                      Grisham
                     First Name             Middle Name            Last Name

 Debtor 2            Yamileth               D.                     Grisham
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                    State what the contract or lease is for




Official Form 106G                           Schedule G: Executory Contracts and Unexpired Leases                                                page 1
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 Fill in this information to identify your case:
 Debtor 1            James                   D                          Grisham
                     First Name              Middle Name                Last Name

 Debtor 2            Yamileth                D.                         Grisham
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?         (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
             Yes
              In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

              Yamileth D. Grisham
              Name of your spouse, former spouse, or legal equivalent
              5613 Bay Meadows Drive
              Number        Street


              Frisco                                          TX              75034
              City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                  Check all schedules that apply:




Official Form 106H                                             Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              James                  D                       Grisham
                           First Name             Middle Name             Last Name                           Check if this is:
     Debtor 2              Yamileth               D.                      Grisham                                  An amended filing
     (Spouse, if filing)   First Name             Middle Name             Last Name
                                                                                                                   A supplement showing postpetition
     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS
                                                                                                                   chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                   MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                                Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status                Employed                                           Employed
      with information about                                             Not employed                                       Not employed
      additional employers.
                                        Occupation                Unemployed                                         Physician Ass't
      Include part-time, seasonal,
      or self-employed work.            Employer's name                                                              Texas Health Physicians Group

      Occupation may include            Employer's address
      student or homemaker, if it                                 Number Street                                      Number Street
      applies.




                                                                  City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?                                                             2 yrs


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1            For Debtor 2 or
                                                                                                                       non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                        $0.00              $7,664.80
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                         3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                    4.                  $0.00              $7,664.80




Official Form 106I                                               Schedule I: Your Income                                                                page 1
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Debtor 1 James                                  D                                  Grisham                                            Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00           $7,664.80
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                $1,099.98
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $154.38
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $311.67
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                    $0.00
     5e. Insurance                                                                                              5e.                  $0.00                    $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                    $0.00
     5g. Union dues                                                                                             5g.                  $0.00                    $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                    Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.                   $0.00                $1,566.03
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                $6,098.77
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                     $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.                   $0.00                     $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.                  $0.00        +       $6,098.77       =       $6,098.77
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $6,098.77
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                            Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                            page 2
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 Fill in this information to identify your case:
                                                                                                          Check if this is:
     Debtor 1              James                   D                      Grisham                             An amended filing
                           First Name              Middle Name            Last Name                           A supplement showing postpetition
                                                                                                              chapter 13 expenses as of the
     Debtor 2              Yamileth                D.                     Grisham
     (Spouse, if filing)   First Name              Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number
     (if known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                   No
                                                Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                          Debtor 1 or Debtor 2           age              live with you?
                                                for each dependent...................................
      Debtor 2.                                                                                                                               No
                                                                                   Child                               10
                                                                                                                                              Yes
      Do not state the dependents'
                                                                                                                                              No
      names.                                                                       Child                               5
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                          No
      expenses of people other than                     Yes
      yourself and your dependents?



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                       Your expenses

4.    The rental or home ownership expenses for your residence.                                                       4.                      $2,530.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                           4a.

      4b. Property, homeowner's, or renter's insurance                                                                4b.

      4c. Home maintenance, repair, and upkeep expenses                                                               4c.                      $125.00
      4d. Homeowner's association or condominium dues                                                                 4d.                       $83.00



 Official Form 106J                                              Schedule J: Your Expenses                                                          page 1
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Debtor 1 James                      D                         Grisham                         Case number (if known)
            First Name              Middle Name               Last Name


                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                      $425.00
     6b. Water, sewer, garbage collection                                                                  6b.                      $175.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                      $155.00
         cable services
     6d. Other. Specify:       cell phones                                                                 6d.                      $275.00
7.   Food and housekeeping supplies                                                                        7.                      $1,100.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                       $110.00
10. Personal care products and services                                                                    10.                       $65.00
11. Medical and dental expenses                                                                            11.

12. Transportation. Include gas, maintenance, bus or train                                                 12.                      $325.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                                15a.                      $42.00
     15b.    Health insurance                                                                              15b.

     15c.    Vehicle insurance                                                                             15c.                     $161.00
     15d.    Other insurance. Specify:                                                                     15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1     car pmnt                                                       17a.                     $237.00
     17b.    Car payments for Vehicle 2     car pmnt                                                       17b.                     $290.00
     17c.    Other. Specify: student loan                                                                  17c.                     $363.00
     17d.    Other. Specify:                                                                               17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                                   20a.

     20b.    Real estate taxes                                                                             20b.

     20c.    Property, homeowner's, or renter's insurance                                                  20c.

     20d.    Maintenance, repair, and upkeep expenses                                                      20d.

     20e.    Homeowner's association or condominium dues                                                   20e.



 Official Form 106J                                           Schedule J: Your Expenses                                                page 2
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Debtor 1 James                        D                         Grisham                         Case number (if known)
           First Name                 Middle Name               Last Name


21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $6,461.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $6,461.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $6,098.77
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –               $6,461.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                   ($362.23)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                             Schedule J: Your Expenses                                               page 3
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 Fill in this information to identify your case:
 Debtor 1                James                         D                             Grisham
                         First Name                    Middle Name                   Last Name

 Debtor 2            Yamileth                          D.                            Grisham
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                         $35,561.00
     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................................................................................


                                                                                                                                                                              $35,561.00
     1c. Copy line 63, Total of all property on Schedule A/B...................................................................................................................................................................



 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $264,948.89
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $253,159.90
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                        $518,108.79




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $6,098.77
     Copy your combined monthly income from line 12 of Schedule I......................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $6,461.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
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Debtor 1      James                 D                     Grisham                       Case number (if known)
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $6,715.80


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00

     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           James                 D                      Grisham
                    First Name            Middle Name            Last Name

 Debtor 2            Yamileth             D.                     Grisham
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                    Attach Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ James D Grisham                                       X /s/ Yamileth D. Grisham
        Signature of Debtor 1                                      Signature of Debtor 2

        Date 01/04/2016                                            Date 01/04/2016
             MM / DD / YYYY                                             MM / DD / YYYY




Official Form 106Dec                            Declaration About an Individual Debtor's Schedules                                        page 1
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 Fill in this information to identify your case:
 Debtor 1             James                 D                      Grisham
                      First Name            Middle Name            Last Name

 Debtor 2            Yamileth               D.                     Grisham
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1          Debtor 2:                                    Dates Debtor 2
                                                           lived there                                                          lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       James                     D                     Grisham                       Case number (if known)
               First Name                Middle Name           Last Name


 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                        Debtor 1                                        Debtor 2

                                                       Sources of income          Gross income         Sources of income          Gross income
                                                       Check all that apply.      (before deductions   Check all that apply.      (before deductions
                                                                                  and exclusions                                  and exclusions

From January 1 of the current year until                   Wages, commissions,          $40,000.00         Wages, commissions,               $80.00
the date you filed for bankruptcy:                         bonuses, tips                                   bonuses, tips
                                                           Operating a business                            Operating a business


For the last calendar year:                                Wages, commissions,         $154,200.00         Wages, commissions,
                                                           bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                     Operating a business                            Operating a business


For the calendar year before that:                         Wages, commissions,         $130,000.00         Wages, commissions,
                                                           bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                     Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2
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Debtor 1         James                D                      Grisham                      Case number (if known)
                 First Name           Middle Name            Last Name


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.


                                                             Dates of       Total amount         Amount you          Was this payment for...
                                                             payment        paid                 stil owe
7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                             Dates of       Total amount         Amount you          Reason for this payment
                                                             payment        paid                 still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

                                                             Dates of       Total amount         Amount you          Reason for this payment
                                                             payment        paid                 still owe           Include creditor's name




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
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Debtor 1         James                 D                       Grisham                        Case number (if known)
                 First Name            Middle Name             Last Name


 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

                                             Nature of the case                          Court or agency                          Status of the case

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1       James                   D                    Grisham                       Case number (if known)
               First Name              Middle Name          Last Name


 Part 7:         List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 5
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Debtor 1       James                   D                     Grisham                       Case number (if known)
               First Name              Middle Name           Last Name


 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
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Debtor 1       James                  D                    Grisham                        Case number (if known)
               First Name             Middle Name          Last Name

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ James D Grisham                                      X /s/ Yamileth D. Grisham
   Signature of Debtor 1                                        Signature of Debtor 2

   Date       01/04/2016                                        Date     01/04/2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                         Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
                    Case 16-40031   Doc 1        Filed 01/04/16   Entered 01/04/16 16:27:08    Desc Main Document      Page 53 of 94

 Fill in this information to identify your case:
 Debtor 1              James                D                      Grisham
                       First Name           Middle Name            Last Name

 Debtor 2            Yamileth               D.                     Grisham
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                Check if this is an
 (if known)
                                                                                                                                amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral           What do you intend to do with the           Did you claim the property
                                                                          property that secures a debt?               as exempt on Schedule C?

      Creditor's        Ditech                                                 Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    House and Lot (Homestead)                              Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:
                                                                               Debtor will continue making payments to creditor without
                                                                               reaffirming.


      Creditor's        Wells Fargo Home Mortgage                              Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    House and Lot (Homestead)                              Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:
                                                                               Debtor will continue making payments to creditor without
                                                                               reaffirming.




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Debtor 1     James                  D                    Grisham                       Case number (if known)
             First Name             Middle Name          Last Name


 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    None.


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ James D Grisham                                    X /s/ Yamileth D. Grisham
   Signature of Debtor 1                                      Signature of Debtor 2

   Date 01/04/2016                                            Date 01/04/2016
        MM / DD / YYYY                                             MM / DD / YYYY




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                      Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                                     $245    filing fee
                                                                              $75    administrative fee
     Your debts are primarily consumer debts.                         +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                             $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                      Chapter 7 is for individuals who have financial difficulty
                                                                      preventing them from paying their debts and who are
                                                                      willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                            pay their creditors. The primary purpose of filing under
to individuals                                                        chapter 7 is to have your debts discharged. The
                                                                      bankruptcy discharge relieves you after bankruptcy from
                                                                      having to pay many of your pre-bankruptcy debts.
                                                                      Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                      property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                      example, a creditor may have the right to foreclose a
                                                                      home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                      However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                      certain kinds of improper conduct described in the
                                                                      Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                                You should know that the even if you file chapter 7 and
                                                                      you receive a discharge, some debts are not discharged
                                                                      under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                      pay:
                  individuals with regular income
                                                                          most taxes;
You should have an attorney review your                                   most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                               domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                   page 1
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    most fines, penalties, forfeitures, and criminal                   for your state of residence and family size, depending
    restitution obligations; and                                       on the results of the Means Test, the U.S. trustee,
                                                                       bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy               dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                            Code. If a motion is filed, the court will decide if your
                                                                       case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                    choose to proceed under another chapter of the
                                                                       Bankruptcy Code.
    fraud or theft;
                                                                       If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                       trustee may sell your property to pay your debts, subject
    capacity;
                                                                       to your right to exempt the property or a portion of the
                                                                       proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                       and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor               trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from                called exempt property. Exemptions may enable you to
    alcohol or drugs.                                                  keep your home, a car, clothing, and household items or
                                                                       to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have                  Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You                 must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly                  Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing          property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine               proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                       Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                         $1,167    filing fee
122A-2).                                                                      $550    administrative fee
                                                                       +
If your income is above the median for your state, you must                 $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--                 Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                     is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to                11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                        Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                           repay your creditors all or part of the money that you owe
            or fishermen                                                them, usually using your future earnings. If the court
                                                                        approves your plan, the court will allow you to repay your
                                                                        debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                               depending on your income and other factors.
+        $75   administrative fee
                                                                        After you make all the payments under your plan, many
        $275   total fee
                                                                        of your debts are discharged. The debts that are not
                                                                        discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                        include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                               domestic support obligations,
                                                                            most student loans,
                                                                            certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                                  debts for fraud or theft,
                                                                            debts for fraud or defalcation while acting in a
                                                                            fiduciary capacity,
          $235     filing fee
    +      $75     administrative fee
                                                                            most criminal fines and restitution obligations,
          $310     total fee
                                                                            certain debts that are not listed in your bankruptcy
                                                                            papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                            certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                            injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                            certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




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                                                                      A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                                    called a joint case. If you file a joint case and each
                                                                      spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires                   bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about                   mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses               unless you file a statement with the court asking that
  and general financial condition. The court may                      each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                                 Understand which services you could
                                                                      receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                      The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms                    counseling briefing from an approved credit counseling
  .html#procedure.                                                    agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                      case, both spouses must receive the briefing. With
                                                                      limited exceptions, you must receive it within the 180
                                                                      days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                        briefing is usually conducted by telephone or on the
consequences                                                          Internet.

    If you knowingly and fraudulently conceal assets or               In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of                   must complete a financial management instructional
    perjury--either orally or in writing--in connection with          course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or               filing a joint case, both spouses must complete the
    both.                                                             course.

                                                                      You can obtain the list of agencies approved to provide
    All information you supply in connection with a                   both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department                In Alabama and North Carolina, go to:
    of Justice.                                                       http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                      ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                               If you do not have access to a computer, the clerk of the
                                                                      bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




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B2030 (Form 2030) (12/15)

                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                  SHERMAN DIVISION
In re James D Grisham                                                                                                               Case No.
      Yamileth D. Grisham
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $1,265.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                   $900.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                    $365.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)


6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   01/04/2016                            /s/ KENNETH S.HARTER
                      Date                               KENNETH S.HARTER                           Bar No. 09155300
                                                         Law Offices of Kenneth S. Harter
                                                         1620 E. Beltline Rd.
                                                         Carrollton, Tx. 75006
                                                         Phone: (972) 242-8887 / Fax: (972) 446-7976




    /s/ James D Grisham                                                /s/ Yamileth D. Grisham
   James D Grisham                                                    Yamileth D. Grisham
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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION
  IN RE:   James D Grisham                                                             CASE NO
           Yamileth D. Grisham
                                                                                       CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 1/4/2016                                                Signature    /s/ James D Grisham
                                                                         James D Grisham



Date 1/4/2016                                                Signature    /s/ Yamileth D. Grisham
                                                                         Yamileth D. Grisham
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                            AMERICAN EXPRESS
                            P. O. BOX 5027
                            FT. LAUDERDALE, FL. 33310



                            American Medical Collection Agency
                            4 Westchester Plaza
                            Bldg 4
                            Elmsford, NY 10523


                            ARS National Services
                            201 W. Grand Av.
                            Escondido, CA 92046



                            Bank of America
                            P. .O. Box 15284
                            Wilmington, DE. 19850-



                            Bank of America
                            P. .O. Box 19850
                            Wilmington, DE. 19850



                            Capital Management Services, LP
                            698 1/2 south Ogden St.
                            Buffalo, NY 14206-2317



                            Cash Net USA
                            200 West Jackson St. Suite 1400
                            Chicago, IL 60606-6941



                            Cavalry Portfolio Services
                            500 Summit Lake Dr.
                            Valhalla, NY 10595



                            Citibank
                            C/O Client Services, Inc.
                            3451 Harry S. Truman, Blvd
                            St. Charles, MO 63301-4047
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                            Cook Childrens' Med. Cntr
                            P. O. Box 961257
                            Fort Worth, Tx. 76161-0257



                            Credence
                            17000 Dallas Pkwy
                            Suite 204
                            Dallas, Tx. 75248


                            Credit Control
                            245 East Roselawn #25-26
                            Maplewood, MN 55117



                            Ditech
                            C/O Johnson & Silver
                            12720 Hillcrest
                            Dallas, Tx. 75230


                            Financial Corp. of America
                            P. O. Box 203500
                            Austin, Tx. 78720-3500



                            First Source Advantage
                            P O Box 1299717
                            Buffalo, NY 14240



                            Hunter Warfield Collectionis & Asset Inv
                            4620 Woodland Corporate Blvd
                            Tampa, FL 33614



                            Law Offices of Kenneth S. Harter
                            1620 E. Beltline Rd.
                            Carrollton, Tx. 75006



                            LCA Collections
                            Box 2240
                            Burlington, NC 27216
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                            Management Services, Inc.
                            P. O. Box 1099
                            Langhorne, PA 19047



                            NCO Financial Systems, Inc.
                            P. O. Box 15137
                            Wilmington, DE 19850-5137



                            NCP Finance Limited Partnership
                            205 Sugar Camp Cir
                            Dpt CNG
                            Dayton, Oh 45409


                            Northstar Location Services
                            Attn: Financial Dept
                            4285 Genesee St.
                            Buffalo, NY 14225


                            Penn Credit Corp
                            916 So. 14th St.
                            Box 988
                            Harrisburg, PA 17108-0988


                            Portfolio Recovery Associates
                            P. O. Box 12914
                            Norfolk, VA 23541



                            Quantum Builders
                            6125 W. Sam Houston Pkwy N
                            #203
                            Houston, Tx. 77041


                            Quest Diagnostics, Inc.
                            P. O. Box 41652
                            Philadelphia, PA 19101-1652



                            Southwestern & Pacific Specialty Financi
                            d/b/a Check N Go
                            4540 Cooper Rd. Suite 200
                            Cincinatti, OH 45242
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                            Sunrise Credit Services
                            Box 9100
                            Farmingdale, NY 11735-9100



                            Texas Vision and Laser Center
                            2709 Virginia Pkwy
                            Suite 200
                            McKinney, Tx. 75071-5400


                            Transworld
                            9525 Sweet Valley Drive
                            Valley View, OH. 44125



                            Wells Fargo
                            P. O. Box 30086
                            Los Angeles, Ca. 90030



                            Wells Fargo Home Mortgage
                            P. O. box 14547
                            Des Moines, IA 50306-3547
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 Debtor(s): James D Grisham                           Case No:                                                     EASTERN DISTRICT OF TEXAS
            Yamileth D. Grisham                        Chapter: 7                                                          SHERMAN DIVISION


AMERICAN EXPRESS                                   Credence                                           NCP Finance Limited Partnership
P. O. BOX 5027                                     17000 Dallas Pkwy                                  205 Sugar Camp Cir
FT. LAUDERDALE, FL. 33310                          Suite 204                                          Dpt CNG
                                                   Dallas, Tx. 75248                                  Dayton, Oh 45409


American Medical Collection Agency
                                 Credit Control                                                       Northstar Location Services
4 Westchester Plaza              245 East Roselawn #25-26                                             Attn: Financial Dept
Bldg 4                           Maplewood, MN 55117                                                  4285 Genesee St.
Elmsford, NY 10523                                                                                    Buffalo, NY 14225


ARS National Services                              Ditech                                             Penn Credit Corp
201 W. Grand Av.                                   C/O Johnson & Silver                               916 So. 14th St.
Escondido, CA 92046                                12720 Hillcrest                                    Box 988
                                                   Dallas, Tx. 75230                                  Harrisburg, PA 17108-0988


Bank of America                                    Financial Corp. of America                         Portfolio Recovery Associates
P. .O. Box 15284                                   P. O. Box 203500                                   P. O. Box 12914
Wilmington, DE. 19850-                             Austin, Tx. 78720-3500                             Norfolk, VA 23541



Bank of America                                    First Source Advantage                             Quantum Builders
P. .O. Box 19850                                   P O Box 1299717                                    6125 W. Sam Houston Pkwy N
Wilmington, DE. 19850                              Buffalo, NY 14240                                  #203
                                                                                                      Houston, Tx. 77041


Capital Management Services, LP                    Hunter Warfield Collectionis & Asset
                                                                                    Quest
                                                                                        Inv
                                                                                          Diagnostics, Inc.
698 1/2 south Ogden St.                            4620 Woodland Corporate Blvd     P. O. Box 41652
Buffalo, NY 14206-2317                             Tampa, FL 33614                  Philadelphia, PA 19101-1652



Cash Net USA                                       Law Offices of Kenneth S. Harter Southwestern & Pacific Specialty Fi
200 West Jackson St. Suite 1400                    1620 E. Beltline Rd.             d/b/a Check N Go
Chicago, IL 60606-6941                             Carrollton, Tx. 75006            4540 Cooper Rd. Suite 200
                                                                                    Cincinatti, OH 45242


Cavalry Portfolio Services                         LCA Collections                                    Sunrise Credit Services
500 Summit Lake Dr.                                Box 2240                                           Box 9100
Valhalla, NY 10595                                 Burlington, NC 27216                               Farmingdale, NY 11735-9100



Citibank                                           Management Services, Inc.                          Texas Vision and Laser Center
C/O Client Services, Inc.                          P. O. Box 1099                                     2709 Virginia Pkwy
3451 Harry S. Truman, Blvd                         Langhorne, PA 19047                                Suite 200
St. Charles, MO 63301-4047                                                                            McKinney, Tx. 75071-5400


Cook Childrens' Med. Cntr                          NCO Financial Systems, Inc.                        Transworld
P. O. Box 961257                                   P. O. Box 15137                                    9525 Sweet Valley Drive
Fort Worth, Tx. 76161-0257                         Wilmington, DE 19850-5137                          Valley View, OH. 44125
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            Yamileth D. Grisham                        Chapter: 7                                                          SHERMAN DIVISION


Wells Fargo
P. O. Box 30086
Los Angeles, Ca. 90030



Wells Fargo Home Mortgage
P. O. box 14547
Des Moines, IA 50306-3547
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                                                  UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF TEXAS
                                                          SHERMAN DIVISION
   IN RE: James D Grisham                                                                         CASE NO
          Yamileth D. Grisham
                                                                                                  CHAPTER        7

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: State

                                                                 Gross                Total                           Total Amount      Total Amount
 No.     Category                                        Property Value       Encumbrances        Total Equity              Exempt       Non-Exempt

 1.      Real property                                            $0.00          $264,948.89             $0.00               $0.00             $0.00

 3.      Motor vehicles (cars, etc.)                         $26,250.00                 $0.00       $26,250.00          $26,250.00             $0.00

 4.      Water/Aircraft, Motor Homes,                             $0.00                 $0.00            $0.00               $0.00             $0.00
         Rec. veh. and access.

 6.      Household goods and furnishings                          $0.00                 $0.00            $0.00               $0.00             $0.00

 7.      Electronics                                              $0.00                 $0.00            $0.00               $0.00             $0.00

 8.      Collectibles of value                                    $0.00                 $0.00            $0.00               $0.00             $0.00

 9.      Equipment for sports and hobbies                         $0.00                 $0.00            $0.00               $0.00             $0.00

 10.     Firearms                                                 $0.00                 $0.00            $0.00               $0.00             $0.00

 11.     Clothes                                              $6,000.00                 $0.00        $6,000.00           $6,000.00             $0.00

 12.     Jewelry                                              $2,500.00                 $0.00        $2,500.00           $2,500.00             $0.00

 13.     Non-farm animals                                         $0.00                 $0.00            $0.00               $0.00             $0.00

 14.     Unlisted pers. and household items-                      $0.00                 $0.00            $0.00               $0.00             $0.00
         incl. health aids

 16.     Cash                                                     $0.00                 $0.00            $0.00               $0.00             $0.00

 17.     Deposits of money                                     $711.00                  $0.00        $1,069.00               $0.00         $1,069.00

 18.     Bonds, mutual funds or publicly                       $100.00                  $0.00         $100.00                $0.00           $100.00
         traded stocks

 19.     Non-pub. traded stock and int.                           $0.00                 $0.00            $0.00               $0.00             $0.00
         in businesses

 20.     Govt. and corp. bonds and other                          $0.00                 $0.00            $0.00               $0.00             $0.00
         instruments

 21.     Retirement or pension accounts                           $0.00                 $0.00            $0.00               $0.00             $0.00

 22.     Security deposits and prepayments                        $0.00                 $0.00            $0.00               $0.00             $0.00

 23.     Annuities                                                $0.00                 $0.00            $0.00               $0.00             $0.00

 24.     Interests in an education IRA                            $0.00                 $0.00            $0.00               $0.00             $0.00

 25.     Trusts, equit. or future int. (not in line 1)            $0.00                 $0.00            $0.00               $0.00             $0.00

 26.     Patents, copyrights, and other                           $0.00                 $0.00            $0.00               $0.00             $0.00
         intellectual prop.
 27.     Licenses, franchises, other                              $0.00                 $0.00            $0.00               $0.00             $0.00
         general intangibles

 28.     Tax refunds owed to you                                  $0.00                 $0.00            $0.00               $0.00             $0.00




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                                                UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF TEXAS
                                                        SHERMAN DIVISION
   IN RE: James D Grisham                                                                      CASE NO
          Yamileth D. Grisham
                                                                                               CHAPTER        7

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                 Continuation Sheet # 1
 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                      Scheme Selected: State

                                                           Gross                   Total                           Total Amount      Total Amount
 No.     Category                                  Property Value          Encumbrances        Total Equity              Exempt       Non-Exempt

 29.     Family support                                      $0.00                   $0.00            $0.00               $0.00             $0.00

 30.     Other amounts someone owes you                      $0.00                   $0.00            $0.00               $0.00             $0.00

 31.     Interests in insurance policies                     $0.00                   $0.00            $0.00               $0.00             $0.00

 32.     Any int. in prop. due you from                      $0.00                   $0.00            $0.00               $0.00             $0.00
         someone who has died

 33.     Claims vs. third parties, even                      $0.00                   $0.00            $0.00               $0.00             $0.00
         if no demand

 34.     Other contin. and unliq. claims                     $0.00                   $0.00            $0.00               $0.00             $0.00
         of every nature

 35.     Any financial assets you did                        $0.00                   $0.00            $0.00               $0.00             $0.00
         not already list

 38.     Accounts rec. or commissions you                    $0.00                   $0.00            $0.00               $0.00             $0.00
         already earned

 39.     Office equipment, furnishings,                      $0.00                   $0.00            $0.00               $0.00             $0.00
         and supplies

 40.     Mach., fixt., equip., bus. suppl.,                  $0.00                   $0.00            $0.00               $0.00             $0.00
         tools of trade

 41.     Inventory                                           $0.00                   $0.00            $0.00               $0.00             $0.00

 42.     Interests in partnerships or                        $0.00                   $0.00            $0.00               $0.00             $0.00
         joint ventures

 43.     Customer and mailing lists, or                      $0.00                   $0.00            $0.00               $0.00             $0.00
         other compilations

 44.     Any business-related property not                   $0.00                   $0.00            $0.00               $0.00             $0.00
         already listed

 47.     Farm animals                                        $0.00                   $0.00            $0.00               $0.00             $0.00

 48.     Crops--either growing or harvested                  $0.00                   $0.00            $0.00               $0.00             $0.00

 49.     Farm/fishing equip., impl., mach.,                  $0.00                   $0.00            $0.00               $0.00             $0.00
         fixt., tools

 50.     Farm and fishing supplies, chemicals,               $0.00                   $0.00            $0.00               $0.00             $0.00
         and feed

 51.     Farm/commercial fishing-related prop.               $0.00                   $0.00            $0.00               $0.00             $0.00
         not listed

 53.     Any other property of any kind not                  $0.00                   $0.00            $0.00               $0.00             $0.00
         already listed

                     TOTALS:                           $35,561.00              $264,948.89       $35,919.00          $34,750.00         $1,169.00



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                                               UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF TEXAS
                                                       SHERMAN DIVISION
   IN RE: James D Grisham                                                                      CASE NO
          Yamileth D. Grisham
                                                                                               CHAPTER        7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                 Continuation Sheet # 2




 Surrendered Property:
 The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
 of this analysis. The below listed items are to be returned to the lienholder.

   Property Description                                                                   Market Value                        Lien             Equity

Real Property
(None)
Personal Property
(None)


                    TOTALS:                                                                        $0.00                      $0.00                $0.00


 Non-Exempt Property by Item:
 The following property, or a portion thereof, is non-exempt.

   Property Description                                                  Market Value             Lien              Equity        Non-Exempt Amount

Real Property
(None)
Personal Property

 Chase Checking                                                                $100.00                             $100.00                   $100.00

 Bank of America                                                               $969.00                             $969.00                   $969.00

 vonage 14 shares                                                              $100.00                             $100.00                   $100.00


                    TOTALS:                                                   $1,169.00           $0.00           $1,169.00                $1,169.00




                                                                  Summary
             A. Gross Property Value (not including surrendered property)                                               $35,561.00

             B. Gross Property Value of Surrendered Property                                                                   $0.00

             C. Total Gross Property Value (A+B)                                                                        $35,561.00

             D. Gross Amount of Encumbrances (not including surrendered property)                                      $264,948.89

             E. Gross Amount of Encumbrances on Surrendered Property                                                           $0.00

             F. Total Gross Encumbrances (D+E)                                                                         $264,948.89

             G. Total Equity (not including surrendered property) / (A-D)                                               $35,919.00

             H. Total Equity in surrendered items (B-E)                                                                        $0.00

             I. Total Equity (C-F)                                                                                      $35,919.00

             J. Total Exemptions Claimed                                                                                $34,750.00

             K. Total Non-Exempt Property Remaining (G-J)                                                               $1,169.00



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AMERICAN EXPRESS                          Credence                                           NCP Finance Limited
P. O. BOX 5027                            17000 Dallas Pkwy                                  Partnership
FT. LAUDERDALE, FL. 33310                 Suite 204                                          205 Sugar Camp Cir
                                          Dallas, Tx. 75248                                  Dpt CNG
                                                                                             Dayton, Oh 45409

American Medical Collection               Credit Control                                     Northstar Location Services
Agency                                    245 East Roselawn #25-26                           Attn: Financial Dept
4 Westchester Plaza                       Maplewood, MN 55117                                4285 Genesee St.
Bldg 4                                                                                       Buffalo, NY 14225
Elmsford, NY 10523

ARS National Services                     Ditech                                             Penn Credit Corp
201 W. Grand Av.                          C/O Johnson & Silver                               916 So. 14th St.
Escondido, CA 92046                       12720 Hillcrest                                    Box 988
                                          Dallas, Tx. 75230                                  Harrisburg, PA 17108-0988


Bank of America                           Financial Corp. of America                         Portfolio Recovery Associates
P. .O. Box 15284                          P. O. Box 203500                                   P. O. Box 12914
Wilmington, DE. 19850-                    Austin, Tx. 78720-3500                             Norfolk, VA 23541



Bank of America                           First Source Advantage                             Quantum Builders
P. .O. Box 19850                          P O Box 1299717                                    6125 W. Sam Houston Pkwy N
Wilmington, DE. 19850                     Buffalo, NY 14240                                  #203
                                                                                             Houston, Tx. 77041


Capital Management Services,              Hunter Warfield Collectionis &                     Quest Diagnostics, Inc.
LP                                        Asset Inv                                          P. O. Box 41652
698 1/2 south Ogden St.                   4620 Woodland Corporate Blvd                       Philadelphia, PA 19101-1652
Buffalo, NY 14206-2317                    Tampa, FL 33614


Cash Net USA                              Law Offices of Kenneth S.                          Southwestern & Pacific
200 West Jackson St. Suite                Harter                                             Specialty Financi
1400                                      1620 E. Beltline Rd.                               d/b/a Check N Go
Chicago, IL 60606-6941                    Carrollton, Tx. 75006                              4540 Cooper Rd. Suite 200
                                                                                             Cincinatti, OH 45242

Cavalry Portfolio Services                LCA Collections                                    Sunrise Credit Services
500 Summit Lake Dr.                       Box 2240                                           Box 9100
Valhalla, NY 10595                        Burlington, NC 27216                               Farmingdale, NY 11735-9100



Citibank                                  Management Services, Inc.                          Texas Vision and Laser Center
C/O Client Services, Inc.                 P. O. Box 1099                                     2709 Virginia Pkwy
3451 Harry S. Truman, Blvd                Langhorne, PA 19047                                Suite 200
St. Charles, MO 63301-4047                                                                   McKinney, Tx. 75071-5400


Cook Childrens' Med. Cntr                 NCO Financial Systems, Inc.                        Transworld
P. O. Box 961257                          P. O. Box 15137                                    9525 Sweet Valley Drive
Fort Worth, Tx. 76161-0257                Wilmington, DE 19850-5137                          Valley View, OH. 44125
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Wells Fargo
P. O. Box 30086
Los Angeles, Ca. 90030



Wells Fargo Home Mortgage
P. O. box 14547
Des Moines, IA 50306-3547
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KENNETH S.HARTER, Bar No. 09155300
Law Offices of Kenneth S. Harter
1620 E. Beltline Rd.
Carrollton, Tx. 75006
(972) 242-8887
Attorney for the Petitioner



                               UNITED STATES BANKRUPTCY COURT FOR THE
                                                  EASTERN DISTRICT OF TEXAS
                                                      SHERMAN DIVISION

In re:                                              Case No.:
James D Grisham                                           SSN: xxx-xx-4172
Yamileth D. Grisham                                       SSN: xxx-xx-2799
Debtor(s)
                                           Numbered Listing of Creditors
Address:
5613 Bay Meadows Drive                              Chapter:     7



Frisco, Tx. 75034

            Creditor name and mailing address                            Category of claim                     Amount of claim
1.    AMERICAN EXPRESS                                                 Unsecured Claim                                      $2,623.66
      P. O. BOX 5027
      FT. LAUDERDALE, FL. 33310
      x-x3006



2.    American Medical Collection Agency                               Unsecured Claim                                            $95.06
      4 Westchester Plaza
      Bldg 4
      Elmsford, NY 10523
      xxxxxxx4469


3.    ARS National Services                                            Unsecured Claim                                     $67,259.73
      201 W. Grand Av.
      Escondido, CA 92046
      xxxx4479



4.    Bank of America                                                  Unsecured Claim                                           $393.51
      P. .O. Box 15284
      Wilmington, DE. 19850-
      xxxxxxxx3577



5.    Bank of America                                                  Unsecured Claim                                           $969.75
      P. .O. Box 19850
      Wilmington, DE. 19850
      xxxxxxxx0954



6.    Capital Management Services, LP                                  Unsecured Claim                                     $68,205.38
      698 1/2 south Ogden St.
      Buffalo, NY 14206-2317
      2978
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 in re:    James D Grisham
                                                          Debtor                                                         Case No. (if known)

                Creditor name and mailing address                               Category of claim                     Amount of claim
7.        Cash Net USA                                                        Unsecured Claim                                         $1,844.55
          200 West Jackson St. Suite 1400
          Chicago, IL 60606-6941
          xxxx3413



8.        Cash Net USA                                                        Unsecured Claim                                         $1,853.10
          200 West Jackson St. Suite 1400
          Chicago, IL 60606-6941
          xxxx9354



9.        Cavalry Portfolio Services                                          Unsecured Claim                                        $53,635.54
          500 Summit Lake Dr.
          Valhalla, NY 10595
          xxxx-xxxx-xxxx-2978



10.       Citibank                                                            Unsecured Claim                                         $1,398.34
          C/O Client Services, Inc.
          3451 Harry S. Truman, Blvd
          St. Charles, MO 63301-4047
          xxxx5435


11.       Cook Childrens' Med. Cntr                                           Unsecured Claim                                             $173.25
          P. O. Box 961257
          Fort Worth, Tx. 76161-0257




12.       Credence                                                            Unsecured Claim                                             $304.37
          17000 Dallas Pkwy
          Suite 204
          Dallas, Tx. 75248
          xxxxx4953

13.       Credit Control                                                      Unsecured Claim                                         $8,369.74
          245 East Roselawn #25-26
          Maplewood, MN 55117
          3745



14.       Ditech                                                              Secured Claim                                          $71,948.89
          C/O Johnson & Silver
          12720 Hillcrest
          Dallas, Tx. 75230



15.       Financial Corp. of America                                          Unsecured Claim                                             $334.67
          P. O. Box 203500
          Austin, Tx. 78720-3500
          xxxx6322




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 in re:    James D Grisham
                                                         Debtor                                                         Case No. (if known)

                Creditor name and mailing address                              Category of claim                     Amount of claim
16.       First Source Advantage                                             Unsecured Claim                                         $8,369.74
          P O Box 1299717
          Buffalo, NY 14240
          xxx7970



17.       Hunter Warfield Collectionis & Asset Inv                           Unsecured Claim                                             $926.13
          4620 Woodland Corporate Blvd
          Tampa, FL 33614
          2211



18.       Law Offices of Kenneth S. Harter                                   Unsecured Claim                                             $365.00
          1620 E. Beltline Rd.
          Carrollton, Tx. 75006




19.       LCA Collections                                                    Unsecured Claim                                               $4.51
          Box 2240
          Burlington, NC 27216
          xxxx4892



20.       Management Services, Inc.                                          Unsecured Claim                                         $8,369.74
          P. O. Box 1099
          Langhorne, PA 19047
          xxxxxx3356



21.       NCO Financial Systems, Inc.                                        Unsecured Claim                                             $636.97
          P. O. Box 15137
          Wilmington, DE 19850-5137
          xxx2585



22.       NCP Finance Limited Partnership                                    Unsecured Claim                                         $1,200.00
          205 Sugar Camp Cir
          Dpt CNG
          Dayton, Oh 45409
          xxxx2027

23.       NCP Finance Limited Partnership                                    Unsecured Claim                                         $1,250.00
          205 Sugar Camp Cir
          Dpt CNG
          Dayton, Oh 45409



24.       Northstar Location Services                                        Unsecured Claim                                         $8,369.74
          Attn: Financial Dept
          4285 Genesee St.
          Buffalo, NY 14225
          3745



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 in re:    James D Grisham
                                                         Debtor                                                         Case No. (if known)

                Creditor name and mailing address                              Category of claim                     Amount of claim
25.       Penn Credit Corp                                                   Unsecured Claim                                              $25.00
          916 So. 14th St.
          Box 988
          Harrisburg, PA 17108-0988
          xxxx3216

26.       Portfolio Recovery Associates                                      Unsecured Claim                                         $2,000.00
          P. O. Box 12914
          Norfolk, VA 23541
          5435



27.       Quantum Builders                                                   Unsecured Claim                                             $912.84
          6125 W. Sam Houston Pkwy N
          #203
          Houston, Tx. 77041



28.       Quest Diagnostics, Inc.                                            Unsecured Claim                                             $753.00
          P. O. Box 41652
          Philadelphia, PA 19101-1652
          xxxxxx5161



29.       Quest Diagnostics, Inc.                                            Unsecured Claim                                             $543.56
          P. O. Box 41652
          Philadelphia, PA 19101-1652
          xxxxxx6935



30.       Quest Diagnostics, Inc.                                            Unsecured Claim                                              $25.00
          P. O. Box 41652
          Philadelphia, PA 19101-1652
          xxxxxx5516



31.       Southwestern & Pacific Specialty Financi                           Unsecured Claim                                         $1,250.00
          d/b/a Check N Go
          4540 Cooper Rd. Suite 200
          Cincinatti, OH 45242



32.       Southwestern & Pacific Specialty Financi                           Unsecured Claim                                         $1,250.00
          d/b/a Check N Go
          4540 Cooper Rd. Suite 200
          Cincinatti, OH 45242



33.       Sunrise Credit Services                                            Unsecured Claim                                         $8,369.74
          Box 9100
          Farmingdale, NY 11735-9100
          xxxx2085




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 in re:    James D Grisham
                                                        Debtor                                                           Case No. (if known)

               Creditor name and mailing address                              Category of claim                       Amount of claim
34.       Texas Vision and Laser Center                                     Unsecured Claim                                               $35.00
          2709 Virginia Pkwy
          Suite 200
          McKinney, Tx. 75071-5400
          7950

35.       Transworld                                                        Unsecured Claim                                              $636.97
          9525 Sweet Valley Drive
          Valley View, OH. 44125
          xxx2585



36.       Wells Fargo                                                       Unsecured Claim                                              $406.31
          P. O. Box 30086
          Los Angeles, Ca. 90030
          9331



37.       Wells Fargo Home Mortgage                                         Secured Claim                                          $193,000.00
          P. O. box 14547
          Des Moines, IA 50306-3547




  (The penalty for making a false statement or concealing property is a fine of up to $500,000 or imprisonment for up to 5 years or both.
  18 U.S.C. secs. 152 and 3571.)
                                                              DECLARATION
  I, James D Grisham                                                                                                                      ,
  named as debtor in this case, declare under penalty of perjury that I have read the foregoing Numbered Listing of Creditors,
                  5
  consisting of ______  sheets (including this declaration), and that it is true and correct to the best of my information and belief.


       Debtor: /s/ James D Grisham                                                    Date: 1/4/2016
              James D Grisham



      Spouse: /s/ Yamileth D. Grisham                                                 Date: 1/4/2016
              Yamileth D. Grisham




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                                          UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

  IN RE:   James D Grisham                                                              CASE NO.
           Yamileth D. Grisham
                                                                                        CHAPTER      7

                                                     Certificate of Service


I certify that a true and correct copy of the foregoing was served on all creditors or their attorneys of record, on this day, by
first class mail, fax, or e-mail.

Date:      1/4/2016                                                   /s/ KENNETH S.HARTER
                                                                      KENNETH S.HARTER
                                                                      Attorney for the Debtor(s)


AMERICAN EXPRESS                                 Cash Net USA                                       Credit Control
P. O. BOX 5027                                   xxxx3413                                           3745
FT. LAUDERDALE, FL. 33310                        200 West Jackson St. Suite 1400                    245 East Roselawn #25-26
                                                 Chicago, IL 60606-6941                             Maplewood, MN 55117



American Medical Collection Agency               Cash Net USA                                       Ditech
xxxxxxx4469                                      xxxx9354                                           C/O Johnson & Silver
4 Westchester Plaza                              200 West Jackson St. Suite 1400                    12720 Hillcrest
Bldg 4                                           Chicago, IL 60606-6941                             Dallas, Tx. 75230
Elmsford, NY 10523


ARS National Services                            Cavalry Portfolio Services                         Financial Corp. of America
xxxx4479                                         xxxx-xxxx-xxxx-2978                                P. O. Box 203500
201 W. Grand Av.                                 500 Summit Lake Dr.                                Austin, Tx. 78720-3500
Escondido, CA 92046                              Valhalla, NY 10595



Bank of America                                  Citibank                                           First Source Advantage
xxxxxxxx3577                                     xxxx5435                                           P O Box 1299717
P. .O. Box 15284                                 C/O Client Services, Inc.                          Buffalo, NY 14240
Wilmington, DE. 19850-                           3451 Harry S. Truman, Blvd
                                                 St. Charles, MO 63301-4047


Bank of America                                  Cook Childrens' Med. Cntr                          Hunter Warfield Collectionis & Asset Inv
xxxxxxxx0954                                     P. O. Box 961257                                   2211
P. .O. Box 19850                                 Fort Worth, Tx. 76161-0257                         4620 Woodland Corporate Blvd
Wilmington, DE. 19850                                                                               Tampa, FL 33614



Capital Management Services, LP                  Credence                                           Law Offices of Kenneth S. Harter
2978                                             xxxxx4953                                          1620 E. Beltline Rd.
698 1/2 south Ogden St.                          17000 Dallas Pkwy                                  Carrollton, Tx. 75006
Buffalo, NY 14206-2317                           Suite 204
                                                 Dallas, Tx. 75248
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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

  IN RE:   James D Grisham                                                             CASE NO.
           Yamileth D. Grisham
                                                                                       CHAPTER      7

                                                    Certificate of Service
                                                     (Continuation Sheet #1)

LCA Collections                                 Portfolio Recovery Associates                      Wells Fargo
xxxx4892                                        P. O. Box 12914                                    P. O. Box 30086
Box 2240                                        Norfolk, VA 23541                                  Los Angeles, Ca. 90030
Burlington, NC 27216



Management Services, Inc.                       Quantum Builders                                   Wells Fargo Home Mortgage
xxxxxx3356                                      6125 W. Sam Houston Pkwy N                         P. O. box 14547
P. O. Box 1099                                  #203                                               Des Moines, IA 50306-3547
Langhorne, PA 19047                             Houston, Tx. 77041



NCO Financial Systems, Inc.                     Quest Diagnostics, Inc.
P. O. Box 15137                                 P. O. Box 41652
Wilmington, DE 19850-5137                       Philadelphia, PA 19101-1652




NCP Finance Limited Partnership                 Southwestern & Pacific Specialty
xxxx2027                                        Financi
205 Sugar Camp Cir                              d/b/a Check N Go
Dpt CNG                                         4540 Cooper Rd. Suite 200
Dayton, Oh 45409                                Cincinatti, OH 45242


NCP Finance Limited Partnership                 Sunrise Credit Services
205 Sugar Camp Cir                              xxxx2085
Dpt CNG                                         Box 9100
Dayton, Oh 45409                                Farmingdale, NY 11735-9100



Northstar Location Services                     Texas Vision and Laser Center
Attn: Financial Dept                            7950
4285 Genesee St.                                2709 Virginia Pkwy
Buffalo, NY 14225                               Suite 200
                                                McKinney, Tx. 75071-5400


Penn Credit Corp                                Transworld
xxxx3216                                        9525 Sweet Valley Drive
916 So. 14th St.                                Valley View, OH. 44125
Box 988
Harrisburg, PA 17108-0988
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 Fill in this information to identify your case:                                              Check one box only as directed in this
                                                                                              form and in Form 122A-1Supp:
 Debtor 1           James                  D                      Grisham
                    First Name             Middle Name            Last Name                     1. There is no presumption of abuse.

 Debtor 2            Yamileth              D.                     Grisham                       2. The calculation to determine if a presumption
 (Spouse, if filing) First Name            Middle Name            Last Name                        of abuse applies will be made under Chapter 7
                                                                                                   Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                3. The Means Test does not apply now because
 Case number                                                                                       of qualified military service but it could apply
 (if known)                                                                                        later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                             Column A        Column B
                                                                                             Debtor 1        Debtor 2 or
                                                                                                             non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                            $0.00           $6,715.80
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00                $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
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Debtor 1        James                             D                                Grisham                                          Case number (if known)
                First Name                        Middle Name                      Last Name


                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                          $0.00 here                           $0.00            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                          $0.00 here                           $0.00            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00            $0.00
8.   Unemployment compensation                                                                                                                 $0.00            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                    $0.00   +     $6,715.80   =     $6,715.80
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1       James                       D                            Grisham                                   Case number (if known)
               First Name                  Middle Name                  Last Name


 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $6,715.80
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $80,589.60

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        4

                                                                                                                                                                       $72,612.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ James D Grisham                                                                      X    /s/ Yamileth D. Grisham
           Signature of Debtor 1                                                                         Signature of Debtor 2

           Date 1/4/2016                                                                                 Date 1/4/2016
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
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 Fill in this information to identify your case:                                                                                Check the appropriate box as directed
                                                                                                                                in lines 40 or 42:
 Debtor 1                 James                             D                                Grisham
                          First Name                        Middle Name                      Last Name                           According to the calculation required by this
                                                                                                                                 Statement:
 Debtor 2            Yamileth                               D.                               Grisham
 (Spouse, if filing) First Name                             Middle Name                      Last Name
                                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                                      2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                                     Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                      12/15

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form
122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:           Determine Your Adjusted Income

1.   Copy your total current monthly income
                                         ...............................................................................................................................
                                                                      Copy line 11 from Official Form 122A-1 here                                                        1.       $6,715.80

2.   Did you fill out Column B in Part 1 of Form 122A-1?

           No. Fill in $0 for the total on line 3.

           Yes. Is your spouse filing with you?

                   No. Go to line 3.

                   Yes. Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for
     the household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used
     for the household expenses of you or your dependents?

           No. Fill in $0 for the total on line 3.

           Yes. Fill in the information below:

           State each purpose for which the income was used
                                                                                                            Fill in the amount you
           For example, the income is used to pay your spouse's tax
                                                                                                            are subtracting from
           debt or to support people other than you or your
                                                                                                            your spouse's income
           dependents




                                                                                                           +
         Total ........................................................................................................   $0.00 Copy
                                                                                                                                 ........................................
                                                                                                                                         total here                           –      $0.00


4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                $6,715.80




Official Form 122A-2                                                             Chapter 7 Means Test Calculation                                                                     page 1
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Debtor 1       James                          D                             Grisham                                      Case number (if known)
               First Name                     Middle Name                   Last Name


 Part 2:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use
these amounts to answer the questions in lines 6-15. To find the IRS standards, go online using the link
specified in the separate instructions for this form. This information may also be available at the bankruptcy
clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will
use some of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted
from your spouse's income in line 3 and do not deduct any operating expenses that you subtracted from income in lines 5
and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

 5.   The number of people used in determining your deductions from income

      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                                  4
      be different from the number of people in your household.



 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                               $1,925.00
      fill in the dollar amount for food, clothing, and other items.

 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
      Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--
      people who are under 65 and people who are 65 or older--because older people have a higher IRS allowance for
      health care costs. If your actual expenses are higher than this IRS amount, you may deduct the additional amount on
      line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                        $60.00

      7b. Number of people who are under 65                                           X                  4

      7c. Subtotal. Multiply line 7a by line 7b.                                              $240.00 Copy here                                $240.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                      $144.00

      7e. Number of people who are 65 or older                                        X

      7f.    Subtotal. Multiply line 7d by line 7e.                                               $0.00 Copy here                   +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                                                here
                                                                                                                                              $240.00
      7g. Total. Add lines 7c and 7f................................................................................................................................
                                                                                                                             ................................................. 7g.    $240.00




Official Form 122A-2                                                       Chapter 7 Means Test Calculation                                                                              page 2
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Debtor 1     James                  D                     Grisham                            Case number (if known)
             First Name             Middle Name           Last Name



 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
 To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be
 available at the bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                          $800.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $2,530.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment




                                                              +
                                                                                                                    Repeat this
                                                                               Copy                                 amount on
                             Total average monthly payment               $0.00 here                –          $0.00 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                       Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                   $2,530.00 here                     $2,530.00
            rent expense). If this amount is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                             $554.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122A-2                                     Chapter 7 Means Test Calculation                                                       page 3
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Debtor 1      James                      D                          Grisham                                  Case number (if known)
              First Name                 Middle Name                Last Name


 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:




                                                                                                                           $517.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you filed for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment




                                                                         +
                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                         $0.00        here                  –        $0.00 line 33b.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                  expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ........................                $517.00 here                    $517.00

      Vehicle 2         Describe Vehicle 2:




                                                                                                                           $517.00
      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                         +
                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                         $0.00        here                  –        $0.00 line 33c.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                  expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.                   ........................   $517.00 here                    $517.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                     $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                                       $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.



Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                               page 4
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Debtor 1    James                  D                      Grisham                         Case number (if known)
            First Name             Middle Name            Last Name


 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,              $1,015.36
     self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.

      Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                $0.00
     union dues, and uniform costs.

      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                   $0.00
     filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
     insurance on your dependents, or a non-filing spouse's life insurance, or for any form of life insurance other than
     term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                   $0.00
     agency, such as spousal or child support payments.

      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                               $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.               $150.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                     $93.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services             +        $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.

      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                           $8,341.36




Official Form 122A-2                                     Chapter 7 Means Test Calculation                                                   page 5
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Debtor 1       James                D                      Grisham                        Case number (if known)
               First Name           Middle Name            Last Name


 Additional Expense Deductions              These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.


      Health insurance                                            $585.24

      Disability insurance                                        $287.70

      Health savings account                              +            $0.00

      Total                                                       $872.94 Copy total here                                                                        $872.94
                                                                                                   ...........................................................................


      Do you actually spend this total amount?

              No. How much do you actually spend?

              Yes

 26. Continuing contributions to the care of household or family members. The actual monthly expenses that you                                                      $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                   $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

      By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                         $0.00
     $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                         +             $25.00
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

 32. Add all of the additional expense deductions.
     Add lines 25 though 31.                                                                                                                                   $897.94



Official Form 122A-2                                     Chapter 7 Means Test Calculation                                                                            page 6
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Debtor 1      James                           D                                Grisham                                         Case number (if known)
              First Name                      Middle Name                      Last Name


 Deductions for Debt Payment


 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home:

      33a.                                                                                                                                           $0.00
              Copy line 9b here............................................................................................................................................................................................

              Loans on your first two vehicles:

      33b.                                                                                                                                          $0.00
              Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                          $0.00
              Copy line 13e here............................................................................................................................................................................................

      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                               $0.00
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                               $0.00

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the
                  payments listed in line 33, to keep possession of your property (called
                  the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

                                                                                                                           ÷ 60 =
                                                                                                                           ÷ 60 =
                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                      $0.00           here                               $0.00

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                     Total amount of all past-due priority claims...................................................................................... ÷ 60 =                                             $0.00




Official Form 122A-2                                                         Chapter 7 Means Test Calculation                                                                                                page 7
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Debtor 1       James                          D                              Grisham                                       Case number (if known)
               First Name                     Middle Name                    Last Name


 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.

                      Projected monthly plan payment if you were filing under Chapter 13                                                      $10.00
                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).
                                                                                                                                        X              7.5 %
                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may
                      also be available at the bankruptcy clerk's office.

                                                                                                                                                               Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                                $0.75          here                $0.75

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                                                                     $0.75

 Total Deductions from Income

 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
                                                                                             $8,341.36
      expense allowances.............................................................................................................

                                                                              $897.94
      Copy line 32, All of the additional expense deductions...............................

                                                                   +                $0.75
      Copy line 37, All of the deductions for debt payment.....................................................

      Total deductions                                                                          $9,240.05             Copy total here                                           $9,240.05


 Part 3:         Determine Whether There Is a Presumption of Abuse
 39. Calculate monthly disposable income for 60 months

      39a.                                                                    $6,715.80
               Copy line 4, adjusted current monthly income...................................

      39b.                                                                    – $9,240.05
               Copy line 38, Total deductions.......................................................................................................
                                                                                                                   Copy
      39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                              ($2,524.25) here                              ($2,524.25)
               Subtract line 39b from line 39a.

               For the next 60 months (5 years)...........................................................................................................
                                                                                                                                    x 60

                                                                                                                                                                  Copy
      39d.                                                                                                                  39d. ($151,455.00) here
               Total. Multiply line 39c by 60.....................................................................................................................          ($151,455.00)

 40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.

             * Subject to adjustment on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment.




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Debtor 1      James                      D                          Grisham                                Case number (if known)
              First Name                 Middle Name                Last Name


 41. 41a.     Fill in the amount of your total nonpriority unsecured debt. If you filled out
              A Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
              (Official Form 106Sum), you may refer to line 3b on that form. .....................................................................

                                                                                                                              x .25
      41b.    25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                          Copy
              Multiply line 41a by 0.25.                                                                                                             here

 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
     Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances
 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for
     which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

             No.    Go to Part 5.

             Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                  for each item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income
                    adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                    expenses or income adjustments.


                      Give a detailed explanation of the special circumstances                                                              Average monthly expense
                                                                                                                                            or income adjustment




 Part 5:        Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ James D Grisham                                                                 X   /s/ Yamileth D. Grisham
           Signature of Debtor 1                                                                   Signature of Debtor 2

           Date 1/4/2016                                                                           Date 1/4/2016
                MM / DD / YYYY                                                                          MM / DD / YYYY




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                                      Current Monthly Income Calculation Details
In re: James D Grisham                                                   Case Number:
       Yamileth D. Grisham                                               Chapter:     7

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2              Last       Avg.
                                              Months        Months        Months        Months        Months          Month        Per
                                               Ago           Ago           Ago           Ago           Ago                        Month

Spouse                                     wages
                                             $6,715.80       $6,715.80     $6,715.80     $6,715.80    $6,715.80       $6,715.80   $6,715.80




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                                         Underlying Allowances (as of 01/04/2016)
In re: James D Grisham                                                    Case Number:
       Yamileth D. Grisham                                                Chapter:     7


                                                      Median Income Information
 State of Residence                                                   Texas
 Household Size                                                       4
 Median Income per Census Bureau Data                                 $72,612.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          4
 Gross Monthly Income                                                 $6,715.80
 Income Level                                                         Not Applicable
 Food                                                                 $821.00 OVERRIDDEN--Amount Used: $1,100.00
 Housekeeping Supplies                                                $78.00 OVERRIDDEN--Amount Used: $125.00
 Apparel and Services                                                 $244.00 OVERRIDDEN--Amount Used: $300.00
 Personal Care Products and Services                                  $70.00 OVERRIDDEN--Amount Used: $100.00
 Miscellaneous                                                        $300.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $1,513.00 OVERRIDDEN--Amount Used: $1,925.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $60.00
 Number of members                                                    4
 Subtotal                                                             $240.00
 Household members 65 years of age or older
 Allowance per member                                                 $144.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $240.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Texas
 County or City Name                                                  Denton County
 Family Size                                                          Family of 4
 Non-Mortgage Expenses                                                $669.00 OVERRIDDEN--Amount Used: $800.00
 Mortgage/Rent Expense Allowance                                      $1,708.00 OVERRIDDEN--Amount Used: $2,530.00
 Minus Average Monthly Payment for Debts Secured by Home              $0.00
 Equals Net Mortgage/Rental Expense                                   $2,530.00
 Housing and Utilities Adjustment                                     $0.00




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                                          Underlying Allowances (as of 01/04/2016)
In re: James D Grisham                                                   Case Number:
       Yamileth D. Grisham                                               Chapter:     7


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                 Dallas-Ft. Worth
 Number of Vehicles Operated                                           2 or more
 Allowance                                                             $554.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                 Dallas-Ft. Worth
 Allowance (if entitled)                                               $185.00
 Amount Claimed                                                        $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                 Dallas-Ft. Worth
 Number of Vehicles with Ownership/Lease Expense                       2 or more
                                                     First Car                                              Second Car
 Allowance                      $517.00                                                 $517.00
 Minus Average Monthly
 Payment for Debts              $0.00                                                   $0.00
 Secured by Vehicle
 Equals Net Ownership /         $517.00                                                 $517.00
 Lease Expense




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